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                            UNITED STATES DISTRICT COURT

                           SOUTHERN DISTRICT OF NEW YORK


IN RE PETROBRAS SEC. LITIG.                         No. 14-cv-9662 (JSR'
                                                    CLASS ACTION               ~~~.-um 1a1rnw~



         OBJECTION TO PROPOSED SETTLMENT AND FEE APPLICATION

TO THE HONORABLE JUDGE OF SAID COURT:

       COME NOW class members Mathis and Catherine Bishop, prose, and file this Objection

to Proposed Settlement and Fee Application, and would respectfully show the Court as follows:

       The Bishops purchased Common ADS shares of Petro bras (PBR) at various dates between

March 30, 2010 and October 27, 2014, and sold shares at a loss at various dates between June 23,

2010 and February 28, 2015. These transactions are listed in the claim form previously submitted

online on May 2, 2018, and attached hereto as Exhibit A. The Bishops uploaded brokerage

statements along with the claim form, which are incorporated herein by reference.

       The Bishops ask the Court to deny Class Counsel's fee request, and award a proper and

reasonable fee. Class counsel's request for fees of $285,000,000, or up to 9.5% of the total

settlement amount, is excessively high. The lion's share of the legal work was performed by

contract attorneys, certainly at relatively low rates, and now Class Counsel not only seeks an

impermissibly high multiplier for their own work, but seeks to double dip with the contract

attorney's fees, and would increase those fees well above what was actually paid, and then apply

a multiplier on top of that. The Bishops suggest the Court should award Class Counsel half of

their requested fees, and the difference should be paid out to the class members.
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       Mathis and Catherine Bishop will not appear at the settlement hearing. The Bishops have

objected to one other settlement in the preceding five years: Karsten Schuh v. HCA Holdings, Inc.,

et al, in the United States District Court for the Middle District of Tennessee.



Respectfully Submitted,



M~
204 E. Oakview Place
San Antonio, Texas 78209
(210) 363-0840
   ishop 170@gmail.co

                                                      Date:   ~ (()/          Qdl,\:(
  a erine Bishop
204 E. Oakview Place
San Antonio, Texas 78209
(210) 363-0840
mbishop 170@gmail.com
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                                CERTIFICATE OF SERVICE

       This objection was sent via Fed Ex for delivery on May 11, 2018 to the following:

Clerk's Office
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

Skadden, Arps
Jay B. Kasner, Esq.
Four Times Square
New York, NY 10036

Pomerantz, LLP
Jeremy A. Lieberman, Esq.
600 Third Ave., 201h Floor
New York, NY 10016

King & Spalding, LLP
Michael R. Pauze, Esq.
1700 Pennsylvania Ave. NW
Washington, DC 20006

King & Spalding, LLP
James J. Capra, Esq.
1185 Avenue of the Americas
New York, NY 10036

Cleary Gottlieb Steen & Hamilton, LLP
Lewis J. Liman, Esq.
Roger A. Cooper, Esq.
One Liberty Plaza
New York, NY 10006
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         IN RE PETROBRAS SECURITIES LITIGATION
        WWW.PETROBRASSECURITIESLITIGATION.COM

                                            Thank You
A summary of your Claim will be emailed to the address you provided. If you need to change any of your
information after you have submitted your claim, you may contact the Administrator toll free at 1-855-
907-3218 or via email at info@petrobrassecuritieslitigation.com. Please print this page for your records.

Claimant Identification

                                   Claimant Name: CATHERINE OLSON BISHOP AND

                                           Country: United States of America


                                                      MATHIS BECKHAM BISHOP TIC
                                                      PLEDGED TO ML LENDER
                                  Mamng Address:
                                                      204 E OAKVIEW PL
                                                      UNITED STATES


                                                City: SAN ANTONIO

                                               State: TX

                                                 Zip: 78209

                                           TIN/SSN: 1606


                                   Contact Person: MATT BISHOP


                                  Account Number:

                                    Daytime Phone: (210)363-0840


                                    Evening Phone:


                                              Email: MBlSHOP170@GMAIL.COM


Schedule of Transactions                                                                   EXHIBIT

                                                                                     i        A
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Petrobras Common and Preferred ADS




Common ADS (PBR)    Beginning                      0
                    Holdings



Common ADS (PBR)    Purchase     12/20/2013       20          $13.3135       $266.2700




Common ADS (PBR)    Purchase      10/27/2014      11          $11.1150       $122.2700




Common ADS (PBR)    Purchase      10/26/2010      100         $32.5000       $3250.0000




Common ADS (PBR)    Purchase      10/14/2011       2          $24.6150        $49.2300




Common ADS (PBR)    Purchase      10/07/2011      55          $20.9700       $1153.3500




Common ADS (PBR)    Purchase      09/17/2012       2          $24.0350        $48.0700




Common ADS (PBR)    Purchase      09/05/2012       2          $20.6500        $41.3000




Common ADS (PBR}     Purchase     06/03/2011                  $34.3500        $34.3500




Common ADS (PBR)     Purchase     05/12/2010      170         $37.0000       $6290.0000
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     Common ADS (PBR)    Purchase      04/22/2013      1          $16.7800        $16.7800




     Common ADS {PBR)    Purchase      04/22/2013      2          $16.7750        $33.5500




     Common ADS (PBR)     Purchase     04/22/2013      30         $16.7760        $503.2800




     Common ADS (PBR)     Purchase     03/30/2010      49         $43.9600        $2154.0400




     Common ADS (PBR)   90 Days Look                   0
                         Back Period



     Common ADS {PBR)      Sales       11/08/2012      9           $20.7222       $186.5000




     Common ADS (PBR)       Sales      11/08/2012       1          $20.7200        $20.7200




     Common ADS (PBR)       Sales      1i/08/2012       2          $20.7200        $41.4400




     Common ADS (PBR)       Sales      11/08/2012       2          $20.7250        $41.4500




     Common ADS {PBR)       Sales      11/08/2012       2          $20.7250        $41.4500




     Common ADS (PBR)       Sales      11/01/2010      12          $34.6466        $415.7600




     Common ADS (PBR)       Sales      09/17/2014       2          $17.5900        $35.1800
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 Common ADS (PBR)          Sales             09/05/2013             1              $13.8300           $13.8300




 Common ADS (PBR)          Sales             08/06/2010             1              $38.2600           $38.2600




 Common ADS (PBR)          Sales             07/22/2010             5              $36.3840           $181.9200




 Common ADS (PBR)          Sales             07/13/2010            11              $35.8136           $393,9500




 Common ADS (PBR)          Sales             06/23/2010            11              $36.1963           $398.1600




 Common ADS (PBR)          Sales             02/18/2015            61               $6.9695           $425.1400




 Common ADS (PBR)      Ending Holdings                             325




  Petrobras Notes




                                                    No Records


Supporting Documentation



05-02-2018 22:01 :20                                      1447454_Petrobras statements - Bishop.pdf


Claim Number and Control Number

                                         Claim Number: 1447454


                                    Control Number: 0838223602
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                           Submission Date:! 05/02/2018
